             Case 1:22-cv-05037-AKH Document 89 Filed 07/14/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 COLBY GOROG, JOSHUA FLINT, LOUIS
 ROBINSON, and MICHAEL LERRO,
 individually and on behalf of all others
 similarly situated,

              Plaintiffs,

   v.

 ELON MUSK and TESLA, INC.,                             Civil Action No.: 1:22-cv-05037-AKH

              Defendants.


        DECLARATION OF JARED BIRCHALL IN SUPPORT OF DEFENDANTS’
                     MOTION FOR RULE 11 SANCTIONS

I, Jared Birchall, state that I am over 18 years of age, and declare as follows:

        1.       I make this declaration based on my personal, firsthand knowledge and review of

relevant records, and, if called as a witness, I could and would testify competently thereto.

        2.       I submit this declaration in support of Defendants’ Motion for Rule 11 Sanctions.

        3.       Since 2016, I have worked with Defendant, Elon Musk, as the President and

manager of Excession LLC. Excession is Mr. Musk’s family office. As Manager of Excession, I

assist Mr. Musk in matters related to his businesses and personal finances. Based on my experience

and as part of my responsibilities at Excession, I am the sole person who directs trades on Mr.

Musk’s behalf through cryptocurrency wallets.

        4.       I have reviewed Mr. Musk’s wallets.

        5.       None of the following wallets belong to Mr. Musk:

                 •          DJ6KcPsxiWQAXigrk3xwoq1xYb1ZNCxB3o

                 •          DH5yaieqoZN36fDVciNyRueRGvGLR3mr7L

                                                  1
             Case 1:22-cv-05037-AKH Document 89 Filed 07/14/23 Page 2 of 2




                 •      DPDLBAe3RGQ2GiPxDzhgjcmpZCZD8cSBgZ

                 •      DRSqEwcnJX3GZWH9Twtwk8D5ewqdJzi13k

                 •      DSP3H2VZ8hKAGhhAhQnasu4YMFpEwzeXy2

                 •      D6dqAr2G8EmhA1zDnJKr1AfkkHmowy3PvN

                 •      DDuXGMFNGpGjaAqyDunSMvceMBruc1wwKF

                 •      D8ZEVbgf4yPs3MK8dMJJ7PpSyBKsbd66TX

        6.       Mr. Musk has not sold Dogecoin using any other cryptowallet.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.



Dated: July 14, 2023



                                                     Jared Birchall




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